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                                                                           USDC SDNY
UNITED STATES DISTRICT COURT                                               DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                              ELECTRONICALLY FILED
                                                                           DOC #:
 CUSTOM PAK BROKERAGE, LLC,                                                DATE FILED: 11/5/2020

                             Plaintiff,
                                                                             20-cv-3926 (MKV)
                              -against-
                                                                                   ORDER
 JA BLURR FARMS, LLC and SHAMAR T. HYATT,

                             Defendants.

MARY KAY VYSKOCIL, United States District Judge:

        In an Order dated October 16, 2020, the Court directed the parties to appear for a default

judgment hearing on November 5, 2020 [ECF #24 (“October 16 Order”)]. The Court also

directed Plaintiff to serve a copy of its October 16 Order on Defendants and to file proof of such

service on ECF. Plaintiff filed an affidavit of service, but it states that Plaintiff served the

October 16 Order an attorney who has not filed a notice of appearance on behalf of Defendants

in this case [ECF #25].

        On November 5, 2020, the Court held the scheduled default judgment hearing. However,

at the hearing, Plaintiff confirmed that it incorrectly served the October 16 Order on an attorney

who has not appeared for Defendants in this case. Accordingly, IT IS HEREBY ORDERED that,

by November 6, 2020 at 5:00 p.m., Plaintiff shall serve Defendants personally with copies of this

Order and the October 16 Order. IT IS FURTHER ORDERED THAT all parties shall appear for

a default judgment hearing on November 18, 2020 at 3:00 p.m. IT IS FURTHER ORDERED

THAT, by November 11, 2020 at 5:00 p.m., Defendants shall file any opposition to the motion

for default judgment.
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       If Defendants fail to file any opposition by November 11, 2020 at 5:00 p.m., the Court

will cancel the hearing scheduled to take place on November 18, 2020 and will enter a default

judgment in favor of Plaintiff.

SO ORDERED.
                                                   _________________________________
Date: November 5, 2020                             MARY KAY VYSKOCIL
      New York, NY                                 United States District Judge
